       Case 1:25-cv-02400-JAV          Document 22        Filed 04/25/25       Page 1 of 1




                                                                      30 Wall Street, 8th Floor
                                                                      New York, NY 10005
                                                                      jpace@jpacelaw.com
                                                                      (917) 336-3948

________________________________________________________________________

Via ECF                                                               April 25, 2025
Hon. Jeannette Vargas
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Haggai et al., v. Kiswani et al., 25-civ-2400(JV)

Dear Judge Vargas,

        I represent Defendants Cameron Jones and Maryam Alwan in the above-captioned
matter. I write on behalf of Mr. Jones and Ms. Alwan, and at the request of Defendant Mahmoud
Khalil, to respectfully request an extension of time for these Defendants to respond to the
Complaint. The aforementioned Defendants and Plaintiffs jointly propose the following
schedule:

       Motions to dismiss:    due by May 30, 2025.
       Oppositions:           due 45 days thereafter.
       Replies:               due 14 days after oppositions.

      According to the docket, current deadlines for responsive pleadings are April 16 (Ms.
Alwan),1 April 22 (Mr. Khalil), and April 29 (Mr. Jones). See ECF Nos. 11-13. This is
Defendants’ first request for an extension. No appearance is currently scheduled in this matter.

       Thank you for your attention to this matter.

                                                               Respectfully submitted,

                                                               /S/ Joseph Pace
                                                               J. PACE LAW, PLLC
                                                               30 Wall Street, 8th Floor
                                                               New York, NY 10005
                                                               Tel: (917) 336-3948
                                                               jpace@jpacelaw.com

Cc. Mahmoud Khalil (via counsel)

1
 Although an April 11, 2025 docket entry reflects that a summons was executed as to Ms. Alwan
on March 26, 2025, Ms. Alwan contests that service was properly effected.
